Case 3:09-cv-05191-CRB   Document 119-8   Filed 01/14/11   Page 1 of 4




                EXHIBIT H
Message                                                                                                        Page 1 of 3
       Case 3:09-cv-05191-CRB                     Document 119-8             Filed 01/14/11          Page 2 of 4

Anna Levine

 From: Brenner, Wendy [BRENNERWJ@cooley.com ]
 Sent: Thursday, December 16, 2010 11:57 AM
 To:      Anna Levine
 Subject: RE: Enyart: Proposal for Third Preliminary Injunction
Hi Anna — I have been out of town, but I believe Greg may have been exploring these ideas in my
absence. He is in depo today, but I will synch up with him later today and try to check in with you
tomorrow.

Wendy Brenner
Cooley LLP
3175 Hanover Street
Palo Alto, CA 94304-1130
Direct: (650) 843-5371 e Fax: (650) 849-7400

From: Anna Levine [mailto:alevine©dralegal.org ]
Sent: Wednesday, December 15, 2010 3:37 PM
To: Brenner, Wendy
Subject: RE: Enyart: Proposal for Third Preliminary Injunction


Hi Wendy — Any word from NCBE regarding our proposal?




Anna Levine, Staff Attorney
Disability Rights Advocates
2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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           Original Message
       From: Brenner, Wendy [mailto:BRENNERW3@cooley.com]
       Sent: Thursday, December 09, 2010 2:26 PM
       To: Anna Levine
       Subject: RE: Enyart: Proposal for Third Preliminary Injunction

       Hi Anna —Thanks for the ideas. I will need to discuss these with NCBE. I will do that, and get back
       to you.



 1/13/2011
Message                                                                                                                           Page 2 of 3
          Case 3:09-cv-05191-CRB                           Document 119-8                   Filed 01/14/11                Page 3 of 4


     Wendy Brenner
      Cooley LLP
      3175 Hanover Street
      Palo Alto, CA 94304-1130
      Direct: (650) 843-5371 - Fax: (650) 849-7400

     From: Anna Levine [mailto:alevine@dralegal.org]
     Sent: Thursday, December 09, 2010 1:48 PM
     To: Brenner, Wendy
     Subject: RE: Enyart: Proposal for Third Preliminary Injunction

      I spoke further with Stephanie. She is willing to use NCBE's computer, provided she has adequate time
      and support beforehand to ensure that the software is working and everything is set up, so that she does
      not need to deal with technological issues in the middle of the examination week.

      An alternative proposal that would address her concerns is that we largely keep to the terms of the second
      preliminary injunction, but extend the time and support for set up prior to the examination:



           ® NCBE makes its laptop available on Thursday, February 17, 2011 for inspection by Stephanie and a
             tech person of Stephanie's choice to make certain that the software is loaded in such a way that
             it works (that is, we get the computer to read something). Someone is available who has
             administrative privileges to alter programs on the laptop, if necessary.
           e NCBE makes its laptop available once again on Monday, February 21, 2011, for Stephanie to set up
             her peripherals at the same time that she sets up the peripherals for her own laptop that she will use
             for the written portion of the exam. From that time forward until Stephanie takes the MBE portion of
             the exam (on Saturday and Sunday, February 26 and 27, 2011) the NCBE laptop would remain set
             up with the peripherals. That is, there would be two laptops set up in the guarded examination room,
             and the desk with the laptop for the MBE would basically be moved into position at the end of the
             written exam and prior to the MBE portion of the exam.




      Anna Levine, Staff Attorney
      Disability Ri ghts Advocates
      2001 Center Street, Third Floor
      Berkeley, California 94704-1204

      510 665 8644 (Tel)
      510 665 8716 (TTY)
      510 665 8511 (Fax)

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Message Case 3:09-cv-05191-CRB                                                                                                       Page 3 of 3
                                                               Document 119-8                   Filed 01/14/11               Page 4 of 4

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